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                             EXHIBIT A
                                     IN SUPPORT OF DEFENDANT'S
                                     MOTION TO TRANSFER VENUE TO
                                     THE WESTERN DISTRICT OF TEXAS
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